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                          Exhibit 9
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  2   off the record, but, again, my name is David

  3   Teslicko and I'm joined here today with my

  4   colleague, Kelly Garcia, and we are

  5   representing the United States of America in

  6   this matter.

  7                 Can you please state your full

  8   name for the record again?

  9          A.     Yeah, Chris -- Christopher LaSala.

10           Q.     Mr. LaSala, are you represented by

11    counsel here today?

12           A.     I am.

13           Q.     Which counsel is that?

14           A.     The gentlemen to my right here,

15    Axinn and -- I'm forgetting it.          Joe and

16    Daniel.

17           Q.     Mr. LaSala, did you sign a

18    retention agreement with counsel that's

19    present here today?

20           A.     I believe that document was a

21    retention agreement.       Yeah, that's right.

22           Q.     And your understanding is that

23    they represent you in your individual

24    capacity today?

25           A.     Yes.    Yeah.
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  1                         C. LASALA

  2   deposition, October 2020, you were the global

  3   product lead or global strategy lead; is that

  4   correct?

  5          A.     Yes.

  6          Q.     And it looks like, based on your

  7   resume that we found, your official title was

  8   managing director, global commercialization

  9   for publisher advertising products; is that

10    correct?

11           A.     Yes.

12           Q.     And you held that title for the

13    period of 2013 through 2022?

14           A.     I don't recall, but it sounds

15    reasonable.

16           Q.     In that role, you and the team you

17    oversaw were responsible for taking feedback

18    from Google sales teams through the

19    go-to-market teams and bringing that to

20    Google's engineering teams and product teams?

21           A.     Yes.

22           Q.     In that role, how many times, on

23    average, did you meet with publishers each

24    year?

25           A.     Less frequently than -- I don't
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  2     know, five to ten, maybe.

  3            Q.       On average, how many times per

  4     year in that role did you meet with

  5     advertisers?

  6            A.       Hardly ever.        Maybe never.

  7            Q.       I think in your prior deposition,

  8     Mr. LaSala, you said you probably hadn't

  9     spoken to an advertiser in 15 years.

10                      Does that still sound accurate?

11             A.       Probably, yeah.

12             Q.       You and your team were also

13      responsible for taking whatever Google's

14      product teams decide to build and bringing

15      that back to Google's sales team; is that

16      correct?

17             A.       That's correct.

18             Q.       Are you still in the managing

19      director of global commercialization for

20      publisher advertising products role?

21             A.       No, I'm not.

22             Q.       And when did you -- when did you

23      leave that role?

24             A.       I think officially, left Google on

25      January 15th of -- what is it, '01, '02?


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  2                     '02.     About a year and a half ago.

  3            Q.       Okay.        So you left Google in

  4     around January 15, 2022?

  5            A.       I should know this, but it's been

  6     that long -- I think it's been that long.              It

  7     wasn't on LinkedIn.

  8            Q.       Understood.

  9                     I think that's good enough, thank

10      you?

11             A.       Okay.

12             Q.       Why did you leave Google?

13             A.       I've always wanted to sort of

14      pivot my career into education and I -- it

15      was just a good opportunity to do so.              I

16      thought, you know, if not then -- if not now,

17      when, you know -- in my, you know, 50s,

18      and -- I don't know, COVID.              A lot going on

19      and I just thought life is too short.

20                      And I have been an adjunct

21      professor at Duke University for five or six

22      years.      I was a -- I did some other things

23      with higher education, different schools, and

24      it was just time.             It was just time.

25             Q.       The opportunity that you just


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  2   simplify this business, all of which is, sort

  3   of, articulated here.

  4          Q.     You can put that document aside.

  5                 I want to change topics quickly,

  6   Mr. LaSala.

  7                 Am I correct that your e-mail

  8   address at Google is Chrisl@google.com?

  9          A.     Was.

10           Q.     Was.    Fair point.

11                  Was that your work e-mail address

12    during your entire time at Google?

13           A.     Yeah, I think so.

14           Q.     Did you ever use any other e-mail

15    address to conduct business during your time

16    at Google?

17           A.     I don't think so, unless it was a

18    mistake.

19           Q.     Okay.    Without revealing the

20    substance of any communications with counsel,

21    did you receive a litigation hold in this

22    case?

23           A.     Like, when I was at Google?

24           Q.     Yes.

25           A.     Oh, yeah.
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  2            Q.       Okay.        Do you recall when?

  3            A.       No.

  4            Q.       Any idea if it was before or after

  5     October of 2020?

  6            A.       I don't remember at all.

  7            Q.       Do you -- did you use Chats to

  8     communicate with co-workers at Google?

  9            A.       I did.

10             Q.       Okay.        Did you ever use Chats to

11      communicate with co-workers about any aspect

12      of Google's digital advertising business?

13             A.       Yeah.        I mean, I pretty much used

14      it all the time for a lot of things.

15             Q.       Okay.        Who did you talk to on

16      Chat?

17             A.       I mean, lots -- product managers.

18      I mean, lots -- everyone we worked with.

19             Q.       And was the substance of your

20      chats similar to the substance of your e-mail

21      discussions?

22             A.       It could have been.

23             Q.       Any difference in substance

24      between your e-mails and your chats?

25             A.       I don't know, but --


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  2            Q.       Is it fair to say you used Chat

  3     and e-mail interchangeably to conduct

  4     business at Google?

  5            A.       Yeah, interchangeably.             The more

  6     structured I thought something needed to be,

  7     I would drop it into an e-mail or document.

  8     And the more, I don't know, Chat was more,

  9     like, quick hits type stuff, not like long.

10             Q.       Got it.

11                      But you still had substantive

12      discussions in your Chats?

13             A.       I think that's fair.             I don't

14      remember them.          I'm just suggesting that I

15      used it a lot, so...

16             Q.       Did you take any steps to preserve

17      Chats since you received a litigation hold

18      for this case?

19             A.       Only after.        So you are asking a

20      question about, like -- during my time at

21      Google, had I used Chats.             So that's mostly

22      how I used Chat.

23                      Then there was litigation hold,

24      and we actually had training.                  And I'm

25      forgetting the details of the training, where


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  2     it was suggested we should toggle Chat

  3     between on the record and off the record or

  4     something like that, when we are talking

  5     about business opportunities.

  6                     So at that point I changed my

  7     behavior, because that was, like,

  8     logistically complicated.             So then I moved to

  9     any business related things being in

 10     meetings, e-mail, or documents, and then

 11     Chat.

 12                     So the only time I would use this

 13     on the records/off the record toggle is if

 14     somebody chatted me, and I think I did it a

 15     handful of times, and said some strategy

 16     thing.      And I didn't even know how it worked.

 17     I would, like, go on the record and then

 18     suggest that we should, you know, have a

 19     meeting.

 20                     So once I got guidance from

 21     counsel, I just changed my behavior.             And

 22     then Chat became, like, meeting schedules or

 23     it was more just admin work.

 24            Q.       When did you receive this training

 25     from counsel?


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  2            A.       Consistent with when we were

  3     getting litigation holds and --

  4            Q.       So close in time to when you first

  5     received a litigation hold?

  6            A.       I don't remember the details,

  7     but...

  8            Q.       Do you recall if it was close in

  9     time or months later?

 10            A.       Close in time.        I mean, I vaguely

 11     remember the e-mail saying that -- like,

 12     writing it.        I don't know.

 13            Q.       When you said you switched to

 14     meetings and e-mails, when you refer to

 15     meeting there, you mean, an in-person meeting

 16     or a meeting technology?

 17            A.       Like a Zoom call?

 18            Q.       Is that what you are referring to

 19     when you said meeting?

 20            A.       Yeah, meeting, like, just meeting,

 21     yeah.

 22            Q.       Were you aware that the default

 23     setting in a Chat group was history off?

 24            A.       I was not.

 25            Q.       And you first became aware of that


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  2     during the training?

  3            A.       This whole thing, that's right.       I

  4     pretty much operated under the assumption

  5     that everything was being tracked.

  6            Q.       What was your total compensation

  7     from Google for the year 2022?

  8            A.       I don't remember.

  9            Q.       Approximately?

 10            A.       A million dollars.

 11            Q.       How about 2021?

 12            A.       Less than that.

 13            Q.       Close to a million dollars?

 14            A.       Maybe.

 15            Q.       Okay.        Does that include your

 16     salary and bonus --

 17            A.       Yes, everything, full

 18     compensation.

 19            Q.       Do you currently own any Google

 20     stock?

 21            A.       I do, yeah.

 22            Q.       Approximately how much?

 23            A.       I guess I have to answer that

 24     question.

 25                     I think around 200,000.


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  2

  3                 MR. MADDEN:     Can we take a

  4          five-minute break?      I'm done with --

  5                 You can put the document aside.

  6                 We can go off the record.

  7                 THE VIDEOGRAPHER:      The time is

  8          4:54 p.m.    We are off the record.

  9                 (Whereupon, at 4:54 p.m., the

 10          Examination of this Witness was

 11          adjourned.)

 12

 13

 14              __________________________
                      CHRIS LASALA
 15
       Subscribed and sworn to before me
 16    this _____ day of ________, 2023.

 17    __________________________
            NOTARY PUBLIC
 18

 19

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